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     MICHAEL JOHN AVENATTI
 5
 6
                              UNITED STATES DISTRICT COURT
 7
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,                      SA CR No. 19-061-JVS
10               Plaintiff,                         DEFENDANT’S NOTICE OF MOTION
                                                    AND MOTION TO REOPEN
11                      v.                          DETENTION HEARING
                                                    (18 U.S.C. § 3142(f))
12   MICHAEL JOHN AVENATTI,
13               Defendant.
                                                    [[Proposed] Order filed concurrently
14                                                  herewith]
15
16         TO U.S. ATTORNEY NICOLA HANNA, AUSA ALEXANDER WYMAN, and
17   AUSA BRETT SAGEL, PLEASE TAKE NOTICE that Defendant MICHAEL JOHN
18   AVENATTI (“Mr. Avenatti”) by and through his counsel of record, H. Dean Steward,
19   hereby moves and files his Motion to Reopen Detention Hearing pursuant to 18 U.S.C. §
20   3142(f). Defendant’s motion is based on the attached memorandum of points and
21   authorities; the evidence referenced in the attached; the files, records and transcripts in
22   this case and the other cases cited herein; and such further evidence and argument as the
23   Court may permit at a hearing on this matter. In the event the government files an
24   opposition, Defendant specifically requests an opportunity to file a Reply prior to the
25   Court’s ruling on the motion.
26   //
27   //
28
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 1
      Dated: May 7, 2021                   Respectfully submitted,
 2
                                           /s/ H. Dean Steward
 3                                          H. DEAN STEWARD
 4                                         Attorney for Defendant
                                           MICHAEL JOHN AVENATTI
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 1                   MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.    INTRODUCTION
 3         Pursuant to the Bail Reform Act and 18 U.S.C. § 3142(f), Defendant Michael John
 4   Avenatti (“Mr. Avenatti) respectfully requests that the Court reopen the prior detention
 5   hearing held nearly sixteen (16) months ago in this case on January 15, 2020. As set
 6   forth herein, Mr. Avenatti’s circumstances have changed materially and considerably
 7   since the Court remanded him. There is also new information that bears on the Court’s
 8   consideration of whether Mr. Avenatti’s detention is appropriate – including information
 9   that demonstrates the Court can impose a combination of conditions that will reasonably
10   assure Mr. Avenatti’s appearance as required and the safety of any other person and the
11   community. See 18 U.S.C. § 3142(f); United States v. Ward, 63 F.Supp. 2d 1203 (C.D.
12   Cal. 1999); see also United States v. Barksdale, 2008 WL 2620380, *2 n. 3 (E.D. Cal.,
13   July 1, 2008)(“[o]nce a hearing is reopened, . . . it is reopened for the purpose of the
14   court’s receiving any information, within reason, not submitted at the original detention
15   hearing. . . . The purpose of such rule is to allow the new information justifying
16   reopening to be considered in context, taking into account information either side may
17   have gathered.”).
18         As a result, Mr. Avenatti respectfully requests the opportunity to present this
19   information to the Court during a reopened hearing in context (as permitted under the
20   law), after which he will request that the Court amend its January 15, 2020 detention
21   order.1 In addition, seeing as Mr. Avenatti has been subject to the detention order for
22   nearly 16 months at this juncture, with numerous trial delays and continuances having
23   occurred due to the COVID-19 pandemic through no fault of his own, Mr. Avenatti’s
24
     1
       Under the law, this motion is not the proper procedural mechanism by which to present
25
     all of the details relating to the new information and facts, nor is it appropriate for
26   arguing the merits of amending the detention order. Those are properly addressed after
27
     the hearing is reopened and the Court has received the information and facts in context.
     The only question raised by this motion is whether the defendant has met the
28   requirements of section 3142(f) to allow the hearing to be reopened.
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 1   continued detention under the existing Order violates his right to due process under the
 2   Fifth and Sixth Amendments to the United States Constitution. See, e.g., United States
 3   v. Salerno, 481 U.S. 739, 747 n.4 (1987); United States v. Torres, 2021 U.S. App.
 4   LEXIS 12147, __ F.3d __ (Apr. 23, 2021); United States v. Myers, 930 F.3d 1113, 1119
 5   (9th Cir. 2019); United States v. Briggs, 697 F.3d 98, 103 (2d Cir. 2012); United States
 6   v. Gonzales Claudio, 806 F.2d 334, 340-41 (2d Cir. 1986).
 7         Before bringing this motion, undersigned counsel conferred with U.S. Pretrial
 8   Services (“PS”) by telephone and email on May 4-5 regarding their position as to
 9   whether Mr. Avenatti should be placed on regular bond and, if so, the conditions of such
10   bond. Ms. Shakira Davis, the Special Offender Specialist who has supervised Mr.
11   Avenatti since his temporary release on April 24, 2020 (and during his prior release in
12   2019), informed the defense that PS supports Mr. Avenatti being placed on regular bond.
13   PS has also agreed to the set of conditions attached to this motion. See Exhibit A.
14   II.   FACTUAL BACKGROUND
15         A.     The March 2019 Arrest and Release
16         Mr. Avenatti was arrested on a criminal complaint in this case on March 25, 2019
17   in New York City. He was placed under the supervision of PS on that same date, under
18   the following conditions as requested by the government: $300,000 personal
19   recognizance bond, cosigned by two financially responsible persons; travel limited to
20   SDNY, EDNY, CDCA, and points in between for travel to court/personal attorney;
21   temporary additional domestic travel upon consent of AUSAs and approval of AUSAs
22   and PS; surrender travel documents within 48 hours, and no new applications; pretrial
23   supervision as directed by PS; defendant to be released on his own signature with
24   remaining conditions to be met by April 5, 2019; report to PS any transaction of $5,000
25   or greater in any account controlled by the defendant; and report to CDCA on April 1,
26   2019, at 2:00 p.m. He was subsequently assigned for supervision to Ms. Shakira Davis
27
28
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 1    of the U.S. Pretrial Office in the Central District. Importantly, at the time of this hearing,
 2    the government did not claim or argue that Mr. Avenatti was a flight risk.
 3          Within a couple of days, Mr. Avenatti returned from New York to his home in Los
 4    Angeles and then surrendered his American and Italian passports, both of which he had
 5    with him in New York when he was released. On April 1, 2019, Avenatti appeared
 6    before this Court for arraignment. He was ordered released on the same bail conditions
 7    as previously set on the date of his arrest. Once again, the government did not claim or
 8    argue that Mr. Avenatti was a flight risk.
 9          On June 6, 2019, Mr. Avenatti requested that his conditions of release be modified
10    to allow increased travel and argued that there was nothing suggesting that he was a
11    flight risk. [Dkt. 40, pp. 3-5]. The government opposed the request for modification at
12    the hearing but did not dispute that Mr. Avenatti posed no risk of flight. On June 10,
13    2019, the court (Magistrate Judge John D. Early) agreed with the defense, overruled the
14    objection of the government, and modified Mr. Avenatti’s travel restrictions as follows:
15    travel restricted to SDNY, EDNY, SDFL, and CDCA, with domestic travel to other
16    locations permitted with at least two business days’ notice to PS prior to travel to such
17    other location(s). It was further ordered that international travel required prior Court
18    permission. All other conditions remained unchanged and in effect. [Dkt. 42].
19          Importantly, between March 25, 2019 and mid-January 2020, Mr. Avenatti never
20    missed a single court appearance in any of his three criminal proceedings, this case
21    included. Indeed, Mr. Avenatti has never failed to appear for court in connection with
22    any of his three pending criminal matters. Nor has he ever attempted to flee prosecution.
23
            B.      The January 2020 Detention

24                 1.     The government timed Mr. Avenatti’s arrest to coincide with a high-
                          profile State Bar hearing.
25
26          On the evening of January 14, 2020, without notice and despite knowing full well
27    that Mr. Avenatti was scheduled to depart for New York on a commercial flight five
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                                                    3
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 1    hours later in order to assist with trial preparation and be present for the Nike related trial
 2    (set for the following Tuesday in the Southern District of New York), the government
 3    caused Mr. Avenatti to be arrested in downtown Los Angeles. This came as a complete
 4    shock to Mr. Avenatti and his counsel, both of whom had no idea that the government
 5    was going to seek to have Mr. Avenatti remanded, especially as he prepared to depart to
 6    attend trial across the country in another case. It was even more shocking considering
 7    that Mr. Avenatti had enjoyed a fully cooperative relationship with Pretrial Services
 8    since his release on bail in March 2019 (approximately ten months) and was unaware of
 9    any issues or complaints relating to any alleged violations of his bail conditions.
10          The government chose to arrest Mr. Avenatti not at his residence as is customary,
11    or even at the airport. Instead, the prosecution purposely chose to have Mr. Avenatti
12    arrested while he was attending a high-profile State Bar hearing at which the media was
13    present. As planned, a media circus resulted, with Mr. Avenatti’s arrest and ultimate
14    remand being widely reported nationwide. The judge in Mr. Avenatti’s Nike related
15    criminal matter (case No. 1:19-CR-00373-PGG (SDNY) (the “Nike Case”) (the Hon.
16    Paul G. Gardephe) later noted that the timing was especially curious seeing as the
17    alleged conduct purportedly justifying Mr. Avenatti’s arrest and bail revocation was
18    known by the government for months prior (dating back to July 2019). Upon being
19    booked in the Santa Ana jail on the night of January 14, Mr. Avenatti was placed in
20    solitary confinement, in a wing of the jail generally reserved for violent inmates with
21    disciplinary problems.2 In his life, Mr. Avenatti had never before spent a night in jail.
22          In advance of the detention hearing, the government filed approximately 850
23    pages of briefing and materials. [Dkt. 78, 78-1, 78-2, 78-3, 98]. Mr. Avenatti, who was
24    understandably shaken and disoriented from the events that had unfolded approximately
25    18 hours earlier, had less than approximately 30 minutes to review the dense materials
26
27    2
       As the Court is aware, from 1971 until 2019 (48 years), Mr. Avenatti had never been
28    charged with any crime, let alone convicted of any crime, and had no history of violence.
                                                  4
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 1    with his counsel, in lock-up, before the detention hearing began on January 15, 2020.
 2
                   1.     The government’s claim that Mr. Avenatti’s should be remanded
                          centered on the false allegation that he diverted money to his ex-wife
 3                        instead of paying other creditors.
 4
            At the detention hearing, the government’s arguments centered on their claims that
 5
      Mr. Avenatti should be remanded because he had “fraudulently paid” and “diverted”
 6
      money to Mrs. Christine Carlin (his first wife) and other creditors, instead of paying his
 7
      “real creditors,” who AUSAs Sagel and Andre argued were Mr. Avenatti’s second wife
 8
      (Ms. Lisa Storie) and his former employee Jason Frank (who is represented by AUSAs
 9
      Sagel close friend, disgraced former AUSA Andrew Stolper, whom Mr. Avenatti fired
10
      from his law firm for fraud and theft in May 2016). Indeed, the claims relating to Mrs.
11
      Carlin served as the underpinnings for the government’s successful arguments to the
12
      Court that Mr. Avenatti should be remanded because he had “fraudulently” paid and
13
      “diverted” money to Mrs. Carlin instead of other creditors. Mr. Sagel went so far as to
14
      claim at the detention hearing that the money Mr. Avenatti had paid to Mrs. Carlin was a
15
      bribe in exchange for her serving as Mr. Avenatti’s surety: “For all intents and purposes,
16
      when you look at the cash transaction, he paid her to be a surety. She made a couple
17
      hundred thousand dollars off of it. Maybe minus 50,000 for the car she bought him.”
18
      [Transcript, Dkt. 94, p.22:19-22]. The government’s theory for remand hinged on their
19
      position that Mr. Avenatti had money to pay Ms. Storie and Mr. Frank while on pretrial
20
      release, but instead hid the money and undertook efforts to pay others or incur other
21
      expenses in lieu of paying them. AUSA Sagel’s principle argument was that these facts
22
      showed that Mr. Avenatti was an “economic danger to the community.” [Transcript,
23
      Dkt. 94, p. 24:6-7]. The government did not argue that Mr. Avenatti was a flight risk.
24
            At the conclusion of the detention hearing, the Court ordered Mr. Avenatti
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      detained and his bond revoked [Dkt. 83], focusing on Mr. Avenatti’s moving of monies,
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                                                   5
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 1    concealing of funds and structuring of funds.3 [Transcript, Dkt. 94, pp. 36:21-37:4].
 2    The Court further found that there was an ongoing danger that Mr. Avenatti would
 3    engage in similar conduct if allowed to remain on release. See id. at 37:11-12.
 4    Importantly, the Court did not find Mr. Avenatti to be a flight risk.
 5          Following remand, Mr. Avenatti was flown to New Jersey under tight security and
 6    transferred to the Metropolitan Correctional Center (“MCC”) in New York City. He was
 7    immediately placed in solitary confinement in the notorious “10 South” unit of the jail,4
 8    a unit of only six to seven individual cells that is considered the highest security pre-trial
 9    facility in the United States and holds those individuals classified as the most dangerous
10    and who pose dire national security threats to the United States (i.e. international
11    terrorists and drug kingpins, such as Joaquin Guzman (“El Chapo”) and Sayfullo Saipov,
12    who currently faces eight murder charges and the death penalty for an alleged terror
13    attack carried out in New York City in 2017).5 The abhorrent and brutal conditions of 10
14    South have been widely reported and routinely described by experts as being
15    “diabolical,” a form of torture, and worse than those at Guantanamo Bay. The
16    conditions of Mr. Avenatti’s confinement and treatment at the hands of the government
17    have been previously documented for the Court in detail and never refuted with any
18
19
      3
        The Ninth Circuit subsequently affirmed this determination, which was based solely on
20    the information and facts filed and presented in connection with the January 15 detention
21    hearing.
      4
22     The extreme isolation and brutal conditions of 10 South have been described as “a
      punitive measure that is unworthy of the United States as a civilized democracy,”
23    according to a former special monitor on torture and punishment for the United Nations
24    who investigated the case of one prisoner held in the unit.
      5
        The government has never adequately explained why Mr. Avenatti, a 48-year-old
25
      American attorney with no history of crime or violence and who had yet to be convicted
26    of anything, was held in solitary confinement for 24 hours a day in the highest security
27
      pre-trial unit in the United States, which is almost uniformly reserved for suspected
      terrorists and those facing the death penalty for acts against the national interests of the
28    United States.
                                                     6
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 1    evidence. See, e.g., Dkt. 164, pp. 6-13.
 2          C.     The March/April 2020 Release to Home Confinement
 3          By way of Orders entered on March 27, 2020 [Dkt. 128], April 10, 2020 [Dkt.
 4    140], April 13, 2020 [Dkt. 142] and April 23, 2020 [Dkt. 151], this Court permitted Mr.
 5    Avenatti to be temporarily released from MCC and placed on home confinement for 90
 6    days at the residence of a third-party custodian - Mr. Jay Manheimer - due to the
 7    COVID-19 pandemic. Pursuant to these Orders, Mr. Avenatti’s release was conditioned
 8    on approximately 30 terms and conditions, including 24 specific conditions enumerated
 9    in the Court’s Order of April 10, 2020 and at least 6 other conditions as set forth in the
10    Court’s Orders of April 13 and April 23.
11          D.     The Extensions of Mr. Avenatti’s Temporary Release
12          On July 6, 2020, this Court extended Mr. Avenatti’s temporary release for an
13    additional 60 days as a result of the COVID-19 pandemic. [Dkt. 199]. On September
14    16, 2020, this Court granted Mr. Avenatti’s ex parte application to extend his temporary
15    release to October 6, 2020 on the same conditions as previously granted. [Dkt. 291].
16    Importantly, the government not only did not oppose this application, but instead
17    consented to Mr. Avenatti being able to remain on home confinement for additional
18    time. Thereafter, this Court granted additional ex parte applications to extend Mr.
19    Avenatti’s temporary release on the same conditions as previously granted. [Dkt. 314,
20    352, 384, 390, 425]. The last extension [Dkt. 425] permitted Mr. Avenatti to remain on
21    temporary release until May 31, 2021.
22          E.      The Court’s Statement at the April 7, 2021 Status Conference
23          On April 7, 2021, the parties appeared at a status conference in this matter
24    regarding a number of issues related to the trial. During the status conference, the Court
25    informed the parties as follows as it related to Mr. Avenatti’s custody status:
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27
            With regard to the logistics concerning Mr. Avenatti, I’ve been holding off
            ruling on the government’s motion to have him remanded. One of the
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                                                    7
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 1
            factors in my mind is to the extent that Mr. Avenatti is readily available to
            Mr. Steward, particularly during the period of the COVID virus outbreaks at
 2          MDC, it made sense to allow him to have that access. I’m likely to continue
 3          to have the same view and not remand him prior to trial. I think I extended
            the date to the end of May, if I’m correct, May 31st. . . . I’ll revisit it. As
 4          near as I can tell, there have not been any additional problems with regard
 5          to Mr. Avenatti’s compliance since we visited the issue of his use of a
            computer with the ability to access the internet, but let’s take a look at that
 6          at the end of May. I do think if he were out of custody, it would greatly
 7          facilitate the defense’s ability to prepare and present the defense case.
      [Transcript, p. 6:2-20.]
 8
            F.     The New Information and Facts
 9
            Since the date of the detention hearing approximately (16) months ago, significant
10
      information and facts have emerged that were not known to Mr. Avenatti in January
11
      2020 and that clearly demonstrate he can be placed on bail in a manner that will
12
      reasonably assure his appearance as required and the safety of the community. While
13
      more robust details will be provided at the reopened hearing (if permitted), this
14
      information can be summarized by way of the following proffer:
15
            1.     Mr. Avenatti’s Compliance With His Conditions of Temporary Release
16
17
            Since his temporary release to home confinement due to COVID-19 over a year

18
      ago on April 24, 2020, Mr. Avenatti has taken the terms of his release seriously and has
      been fully compliant with each of his approximate 30 bond conditions. Among other
19
      things, Mr. Avenatti (a) did everything he was required to do prior to being released
20
      from MCC, including being placed in solitary confinement and securing the $1 million
21
      bond; (b) met all of the requirements relating to his travel to California from New York
22
      with no issues; (c) promptly reported to Pretrial Services upon his arrival and regularly
23
      thereafter; (d) has timely made all necessary financial reports and disclosures to Pre Trial
24
      Services as required (24 separate reports over the last eleven months), including asset
25
      and financial account disclosures; (e) has avoided all prohibited contact with witnesses;
26
      (f) has complied with the orders of his release in his other two criminal matters pending
27
28
      in the Southern District of New York and made all associated court appearances; (g) has
                                                   8
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 1    executed all documents as required by this Court; (h) has complied with the General
 2    Conditions of Release set forth in the Central District of California Release Order and
 3    Bond Form; (i) has maintained an exceptional relationship and perfect record with
 4    Pretrial Services (“PTS”); (j) has been monitored regularly and consistently by PTS
 5    through in-person, unannounced visits, FaceTime calls and emails (through Mr. Jay
 6    Manheimer as directed by PTS) and 24-hour electronic monitoring; (k) has remained
 7    confined in Mr. Manheimer’s 1,000 square foot, two-bedroom, one-bath apartment; and
 8    (l) in over a year, has never left Mr. Manheimer’s property nor asked for the opportunity
 9    to leave, even for medical or dental care, with one exception – to receive the first dose of
10    the vaccine approximately ten days ago. Further, Mr. Avenatti has not engaged in any
11    improper financial transactions, dissipated assets or improperly accessed any financial
12    accounts. There is also no evidence that he has harmed any members of the community
13    or attempted to.6 All of this is highly material as to whether there are conditions of
14    release that will reasonably assure Mr. Avenatti’s appearance as required and the safety
15    of the community. Indeed, Mr. Avenatti’s spotless record over the last year conclusively
16    demonstrates that there are appropriate conditions that can be implemented short of
17    incarceration that will protect the community.
18          2.     Mr. Avenatti’s Surety and His Ability to Post Significant Collateral
19          At the detention hearing in January 2020, Mr. Avenatti was unaware of the
20    willingness of his current surety to serve as Mr. Avenatti’s surety and guarantee Mr.
21
      6
22      Any claim by the government that Mr. Avenatti violated the conditions of his release
      by inappropriately using a computer, not connected to the internet, to work on legal
23
      filings for this case at the direction of his counsel approximately one year ago, is without
24    merit for all of the reasons set forth in detail in (a) the Opposition [Dkt. No. 271] to the
      Government’s Motion to Terminate and Not Further Extend Defendant Michael John
25
      Avenatti’s Temporary Release and (b) the accompanying declarations filed with the
26    Opposition, including that of Mr. Avenatti’s counsel. Rather than repeat that
27
      information here, the defense refers the Court to the detailed argument and facts
      contained in the defendant’s filings, which show that Mr. Avenatti has fully complied
28    with his conditions.
                                                      9
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 1    Avenatti’s compliance with bail conditions and his appearance by signing a $1,000,000
 2    personal guarantee supported by collateral in the form of a deed of trust on a piece of
 3    real property with equity well in excess of $500,000. This is significant new
 4    information.
 5          3.       Mr. Avenatti’s Ability to Secure a Third-Party Custodian
 6          At the detention hearing in January 2020, Mr. Avenatti was unaware of the
 7    willingness of Mr. Jay Manheimer (and others) to serve as a third-party custodian for
 8    Mr. Avenatti if he was placed on home confinement as part of his bail conditions. This
 9    is also significant new information.
10          4.       The Finding of Indigency By Two Courts
11          Since the detention hearing, this Court [Dkt. 253] and the Southern District of
12    New York (the Hon. Jesse M. Furman presiding, Case No. 1:19-CR-00374-JMF (the
13    “Daniels Case”), Dkt. 73], have found that Mr. Avenatti is indigent and therefore entitled
14    to appointed counsel. Both courts did so after extensive information was submitted
15    establishing this fact. Both courts have also received regular updates of Mr. Avenatti’s
16    financial condition. In light of this, Mr. Avenatti can hardly remain the economic danger
17    to the community that the government claimed at the January 2020 detention hearing.
18          5.       Mr. Avenatti’s Current Financial Condition and Lack of Assets
19          Mr. Avenatti presently has no meaningful funds left. As a result, he does not have
20    liquid assets to transfer or move anywhere and thus cannot “harm” individuals in the
21    community as the government claimed at the detention hearing, even if he desired to.
22    The defense has requested repeatedly that that if the government has any evidence that
23    Mr. Avenatti has any liquid assets greater than $1,000 to access or transfer, they
24    immediately disclose it to the Court and the defense. They have disclosed nothing and
25    their continued silence on the issue speaks volumes. Over the last 30 months (beginning
26    no later than in October 2018), AUSAs Sagel and Andre, the assigned AUSAs in New
27    York, the DOJ, the Los Angeles and New York offices of the FBI, and the Criminal
28
                                                   10
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 1    Division of the IRS have all scoured Mr. Avenatti’s finances and banking transactions.
 2    They claim to have left no stone unturned and to have examined nearly all, if not all, of
 3    his financial transactions (personal and business) since at least early 2011 (the last ten
 4    years). It is uncontested that Mr. Avenatti has practically no liquid assets left and
 5    therefore cannot possibly remain the economic threat to the community the government
 6    claims him to be. Against this backdrop, the government’s argument that Mr. Avenatti’s
 7    financial resources allow him to pose an economic threat to the community lacks merit.
 8          6.     The Admission Made by the Government in the Daniels Case
 9          On August 28, 2020, the AUSAs in the Daniels Case admitted that they have no
10    basis for challenging Mr. Avenatti’s claims of indigency. [Dkt. 86 in Case No. 1:19-CR-
11    00374-JMF, p. 1]. In other words, the government has acknowledged that despite their
12    vast resources and investigation, they have no evidence of any significant funds or assets
13    available for Mr. Avenatti to launder, move, structure, dissipate or transfer to anyone,
14    thus permitting him to harm other creditors or members of the community.
15          7.     The Admissions Made by the Government in the Nike Case
16          After the detention hearing and in connection with the Nike trial, the government
17    repeatedly referenced Mr. Avenatti’s alleged poor financial condition, lack of assets and
18    income, deep indebtedness, and alleged inability to acquire any substantial money as
19    evidence that Mr. Avenatti committed extortion and honest services fraud against Nike
20    and his client. In February 2020 they offered this evidence and argument before the jury
21    over the repeated objection of the defense. In fact, this evidence and argument served as
22    one of the centerpieces of the prosecution, with the prosecution calling Mr. Avenatti’s
23    former Office Manager, Judy Regnier, to establish Mr. Avenatti’s alleged desperate
24    financial condition and lack of assets.7 The record in the Nike Case is replete with
25    references to the government’s claims in that case before the judge and jury that Mr.
26
27    7
       AUSAs Brett Sagel and Julian Andre travelled to New York and were present in the
28    courtroom when Ms. Regnier testified on behalf of the government in the Nike trial.
                                                11
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 1    Avenatti was deeply in debt, had negligible assets and no way of paying any expenses.
 2    Indeed, the government made their claim that Mr. Avenatti was broke and deeply in debt
 3    a central theme of their closing argument:
 4
 5
            And that is why we are here today. Because Michael Avenatti, facing a
            mountain of debts, saw a light at the end of the tunnel. He saw a way to
 6          walk out from under those debts . . . And so Avenatti took what Gary
 7          Franklin told him and he used it. He used it to shake down Nike, to line his
            own pockets, to try to pay off his debts.
 8
      [Nike Trial Transcript, February 11, 2020, p. 2127:13-22]
 9
            ….
10          But you know why he did it here. You know why he made these demands.
11          It starts with the amount of money. The $12 million up front is a lot of
            money to anyone, but in this case it was really important to Michael
12          Avenatti. He needed that money right away. . . . Why did he need that
13          money? Here's a stipulation. Government Exhibit S4. It says, On October
            22, 2018, a civil order was entered in the Superior Court of California,
14          against the defendant, that totaled approximately $2,219,669.60 as of March
15          1, 2019. And the defendant hadn't paid it. Here's the second one. Another
            court order. This one for $2,194,301.87. Court order in October 2018, and
16          the defendant had not paid it by March. Third one. This one November
17          2018, court orders Avenatti to pay $5,054,287.75. Hadn't paid it. Fourth
            one. Court order, in January 2019, to pay $1,530,216.07. Hadn't paid it.
18          Separate judgments. So what does that add up to? Just under $11 million in
19          mounting debts, all ordered by courts, in the months leading up to this
            extortion scheme. That's not all. You heard the testimony of Ms. Regnier,
20          the defendant's longtime office manager. You heard that the defendant's law
21          firm was collapsing financially in March 2019, and it actually had been
            evicted from its offices. . . . [T]his wasn't about Franklin for Avenatti. This
22          was about getting out from under this debt. About a get-rich-quick scheme
23          to clear $11 million in debt.
24    [Nike Trial Transcript, February 11, 2020, pp. 2164-66.]

25          The government’s claims in the Nike Case regarding Mr. Avenatti’s financial

26    condition are factual admissions, admissible against them. See, e.g., Oscanyon v. Arms

27    Co., 103 U.S. 261, 263 (1893); United States v. Flores, 679 F.2d 173, 177-78 (9th Cir.

28    1982).   Further, having prevailed - over the repeated objections of Mr. Avenatti both
                                                  12
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 1    before and during trial in the Nike Case - and after having successfully argued to the jury
 2    that Mr. Avenatti was in a desperate financial position with no other way to generate
 3    income or pay his debts, the government is not permitted to now take an entirely
 4    inconsistent position in this case as it relates to bail and claim the exact opposite, namely
 5    that Mr. Avenatti had and has considerable wealth, assets and income to use to harm the
 6    community. To do so in this case would constitute a violation of Mr. Avenatti’s due
 7    process rights and cannot be allowed. See, e.g., Thompson v. Calderon, 120 F.3d 1045,
 8    1058 (9th Cir. 1997)(en banc), rev’d on other grounds, Calderon v. Thompson, 523 U.S.
 9    538 (1998); Smith v. Groose, 205 F.3d 1045 (8th Cir. 2000); Drake v. Kemp, 762 F.2d
10    1449, 1479 (11th Cir. 1985) (Clark, J., concurring) (“Such actions reduce criminal trials
11    to mere gamesmanship and rob them of their supposed search for truth.”).
12          8.     The Seizure of Mr. Avenatti’s Assets After January 15, 2020
13          Following Mr. Avenatti’s remand to custody 16 months ago, various assets and
14    funds of Mr. Avenatti’s were seized by one or more creditors, eliminating Mr. Avenatti’s
15    ability to transfer, move, hide, structure or divert those funds and assets. One cannot
16    transfer, move, hide, structure, or divert what one no longer owns or has access to.
17          9.     The Suspension of Mr. Avenatti’s Law License
18          Following Mr. Avenatti’s February 2020 conviction in the Nike Case, the State
19    Bar of California suspended Mr. Avenatti’s law license as of May 4, 2020. The State
20    Bar prominently states this fact on their website multiple times and informs consumers
21    and members of the public that Mr. Avenatti is not permitted to practice law. Further,
22    Mr. Avenatti is not practicing law and has no clients. He also has no ability to get
23    clients. Nor does he have any funds held in trust or even an attorney-client trust account
24    or business bank account. As a result, there is no risk to the community that Mr.
25    Avenatti will continue to practice law and receive monies on behalf of clients.
26          10.    The Widespread Media Coverage of Mr. Avenatti’s Conviction
27          Mr. Avenatti’s February 2020 conviction in the Nike Case received widespread
28
                                                   13
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 1    press coverage across the country with nearly every story commenting on the significant
 2    prison time Mr. Avenatti could face. The details were reported on NBC, CBS, ABC,
 3    CNN and Fox News, blasted across social media, and printed in countless newspapers
 4    and web articles. As a result, Mr. Avenatti’s ability to harm the community by “luring”
 5    or “duping” someone or an institution into doing business with him, or engaging in any
 6    significant financial transaction with him, is practically nonexistent.
 7          11.    Mr. Avenatti’s Unemployed Status
 8          Mr. Avenatti’s remand and subsequent conviction have left him unemployed with
 9    no access to any meaningful income, cash flow, or funds, thus making it nearly
10    impossible, if not impossible, for him to structure, move, conceal or divert any monies or
11    funds. Mr. Avenatti presently relies entirely on friends and family to support him.
12          12.    The Lack of Remand Following the Nike Verdict
13          Following Mr. Avenatti’s February 2020 conviction in the Nike Case, the
14    government did not request that Mr. Avenatti’s bail in that case be revoked and Mr.
15    Avenatti remanded to custody. Nor did Judge Gardephe order that Mr. Avenatti’s bail
16    be revoked and that he be detained pre-sentencing. Mr. Avenatti remains on bail in that
17    case on the same conditions originally set on March 25, 2019.8
18
19          13.    The Lack of Remand in the Daniels Case
20          Since the January 2020 detention hearing in this matter, neither the government
21    nor the court in the Daniels Case has sought Mr. Avenatti’s remand to custody for any
22    reason. He remains on bail in that case on the same conditions originally set on May 28,
23    2019, which are: $300,000 unsecured personal recognizance bond; travel restricted to
24    SDNY, EDNY, CDCA, and points in between for travel to court/personal attorney;
25    additional domestic travel with prior notification to PS; surrender travel documents
26
27    8
       Importantly, neither at the time of his arraignment nor at any point thereafter did the
28    government claim or argue that Mr. Avenatti was a flight risk in that case.
                                                    14
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 1    within 48 hours and no new applications; pretrial supervision as directed by PS;
 2    defendant to be released on his own signature; no contact with alleged victim except
 3    through counsel; compliance with standard conditions. [Dkt. 4, 5].9
 4          14.    The Findings in Mr. Avenatti’s Presentence Report
 5          In preparation for Mr. Avenatti’s sentencing in the Nike Case, the U.S. Probation
 6    Office prepared an extensive report relating to Mr. Avenatti, his then current
 7    circumstances and his history. The 51-page report was filed in the Nike Case
 8    approximately one year ago on May 13, 2020 [Dkt. 295] after the government and Mr.
 9    Avenatti were provided an opportunity to respond and object to any portions they
10    disagreed with. The report found “[Mr. Avenatti] is not viewed as a flight risk or a
11    danger to the community.” Importantly, the government never objected to this finding
12    nor requested that it be changed in any way.
13          15.    Mr. Avenatti’s Record While Incarcerated
14          As set forth in his SENTRY report, Mr. Avenatti did not violate any institutional
15    rules or regulations during his incarceration at MCC (January 17, 2020 to April 24,
16    2020). This information was included the Presentence Report referenced above.
17          16.    The Dismissal of the Contempt Charges
18          In connection with their efforts to have Mr. Avenatti remanded, the government
19    relied upon the fact that Mr. Avenatti was facing contempt charges as a result of his
20    alleged failure to pay support to his second wife (Ms. Lisa Storie). See, e.g., Dkt. 78,
21    Exh. 30. Those charges have since been dismissed by the Superior Court.
22          17.    The Absence of New Charges Against Mr. Avenatti
23          In connection with the detention hearing, the government claimed that Mr.
24    Avenatti’s actions while on pretrial release amounted to violations of state and federal
25    criminal statutes. Some of this conduct occurred in the Spring and Summer of 2019 and
26
      9
27
        Like in the Nike Case, neither at the time of his arraignment in the Daniels Case nor at
      any point thereafter did the government claim or argue that Mr. Avenatti was a flight
28    risk.
                                                   15
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 1    the government has known about this conduct for nearly two years at this juncture. And
 2    yet no additional charges have been brought against Mr. Avenatti since the detention
 3    hearing, nor is there any indication that any charges are forthcoming. Instead, the claims
 4    by the government appear to have been made for the sole purpose of remanding Mr.
 5    Avenatti on the eve of the Nike trial.
 6          18.    The Exculpatory Information Given to the Government Before the Hearing
 7                 by Mrs. Carlin and Her Attorney That Was Unknown to the Defense and the
 8                 Recent Order Establishing the Falsity of the Government’s Claims at the
 9                 Detention Hearing
10          Unbeknownst to the defense as of the detention hearing, in the Summer of 2019,
11    AUSAs Sagel and Andre had been given significant information and documents by Mr.
12    Avenatti’s first wife, Mrs. Christine Avenatti Carlin, and her attorney, Mr. Ken Miller,
13    demonstrating that the claims AUSAs Sagel and Andre later made in their detention
14    submission and during the detention hearing were untrue and they knew them to be
15    untrue. Had the defense been aware of this, the defense would have presented this fact
16    to the Court, together with the information and documents AUSAs Sagel and Andre had
17    been provided.
18          To be clear, the claims relating to Mrs. Carlin served as the underpinnings for the
19    government’s successful arguments to the Court that Mr. Avenatti should be remanded
20    because he had “fraudulently” paid and “diverted” money to Mrs. Carlin instead of other
21    creditors. In fact, Mr. Sagel went so far as to claim at the detention hearing that the
22    money Mr. Avenatti had paid to Mrs. Carlin was a bribe in exchange for her serving as
23    Mr. Avenatti’s surety: “For all intents and purposes, when you look at the cash
24    transaction, he paid her to be a surety. She made a couple hundred thousand dollars off
25    of it. Maybe minus 50,000 for the car she bought him.” [Dkt. 94, p.22:19-22]. As the
26    defense would learn after the detention hearing, Mr. Sagel accused Mr. Avenatti (and
27    Mrs. Carlin) of committing a crime, knowing full well at the time, and having documents
28
                                                   16
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 1    in his possession showing, that the payments were legitimate support payments and were
 2    required pursuant to a court ordered judgment issued in 2007 (12 years prior).
 3          Long after the hearing, the defense discovered that Mrs. Carlin and Mr. Miller had
 4    provided substantial information and documentation to AUSAs Sagel and Andre months
 5    prior to the hearing, including during a proffer session on July 25, 2019 (following a
 6    grand jury subpoena), that substantiated her claim to money due from Mr. Avenatti and
 7    that the payments she had received were legitimate. They further learned that Mrs.
 8    Carlin and Mr. Miller had also made it clear to AUSAs Sagel and Andre repeatedly in
 9    July 2019 and in the months that followed that she was a legitimate creditor of Mr.
10    Avenatti’s and had a preference over all other creditors due to the amounts being owed
11    pursuant to a child support judgment, even directing the prosecutors to Ostler v. Smith,
12    223 Cal.App.3d 33 (1990), the seminal case in California holding that child support can
13    never be a fixed sum and always adjusts upward or downward depending on income.
14    They had also informed AUSAs Sagel and Andre that (a) Mrs. Carlin was a creditor of
15    Mr. Avenatti’s pursuant to a divorce court judgment/order entered against him on July
16    23, 2007, which she provided to the government; (b) Mrs. Carlin’s judgment predated
17    that of all other creditors (including Mr. Frank and Ms. Lisa Storie) by at least eleven
18    years and was entitled to preference; (c) the judgment provided that Mr. Avenatti’s child
19    and spousal support obligations automatically adjusted upward as Mr. Avenatti’s income
20    (from all sources) increased from $295,020 (his income in 2007);10 and (d) if the
21    government’s numbers in their own indictment were accurate, Mrs. Carlin was due well
22    over $5,500,000 as of the date of the transfers in 2019 that the government claimed were
23    fraudulent and necessitated Mr. Avenatti’s remand. In addition, on February 11, 2020,
24    approximately one month after the January 15, 2020 hearing, the government first
25    produced to the defense an exculpatory document (a 2011 email) that undercuts the
26
27    10
        This is a standard provision used in divorce judgments in California, a fact Mrs. Carlin
28    and her counsel explained to AUSA Sagel and Andre in the Summer of 2019.
                                                  17
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 1    government’s claims at the remand hearing.11 This document had been in the possession
 2    of the government since the Summer of 2019 but was not provided to the defense before
 3    or at the remand hearing. It was only produced one month after the government
 4    successfully had Mr. Avenatti remanded. The defense has asked for an explanation
 5    repeatedly as to why this email was not produced until after Mr. Avenatti was remanded
 6    and the government has ignored the requests.
 7          Further, there can now be no dispute that Mr. Avenatti’s 2019 payments to
 8    Mrs. Carlin relied on by the prosecution for remand were legal and legitimate. On
 9    June 12, 2020, Mrs. Carlin, through her family law attorneys, filed a lengthy Request for
10    Order in the Los Angeles Superior Court family court (Case No. YD051533) seeking an
11    order finding that Mr. Avenatti owes Mrs. Carlin over $5,644,000 in back child and
12    spousal support, plus interest, for the years 2011-2019, pursuant to the judgment she
13    obtained against Mr. Avenatti in 2007. To support the motion, Mrs. Carlin’s counsel
14    relied on the government’s exact numbers in their indictment, as well as the numbers
15    used by Mr. Avenatti’s second wife (Ms. Lisa Storie) to obtain her own judgment against
16    Mr. Avenatti. In connection with the motion, Mrs. Carlin also submitted a May 22, 2020
17    declaration under penalty of perjury attesting to the past due amounts owed for child
18    support, including for years 2011-2019, totaling over $5,000,000.
19          Following a hearing on the motion, the judge assigned to the case, the Hon.
20    Thomas Trent Lewis (ret.),12 ordered Mr. Avenatti on April 21, 2021 to pay Mrs.
21    Avenatti-Carlin $6,423,552 plus interest for (a) back child and spousal support for the
22
      11
        The email (USAO _00262149-50) demonstrates that the 2007 judgment issued by the
23    Family Court was always understood to require child support payments that fluctuated
      with Mr. Avenatti’s income. It also establishes that it was the routine practice of Mr.
24    Avenatti and Mrs. Carlin to amicably resolve disputes relating to the amount of support
      due. Finally, it proves that Mr. Avenatti was obligated to pay Mrs. Carlin in amount far
25    greater than that claimed by the government at the detention hearing.
      12
26      Judge Lewis is widely considered to be one of the foremost authorities on family law
27
      in the State of California. He has over 40 years of family law experience and previously
      served as the Supervising Judge for the Los Angeles County Family Law Division where
28    he oversaw the operations of nearly 70 family law departments in the county.
                                                   18
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 1    years 2011-2019 and (b) $280,000 in college expenses. Accordingly, the government’s
 2    representations to this Court in connection with the remand hearing that Mr.
 3    Avenatti did not owe money to Mrs. Carlin when he made the payments to her in
 4    2019, he had paid Mrs. Carlin to be his surety, and had diverted money to her
 5    instead of paying “real creditors,” have now all been shown to be false.
 6          The defense has also recently learned that in approximately March/April of last
 7    year (after the remand hearing), Mrs. Carlin and her counsel provided additional
 8    exculpatory information and documents to the government that further show the falsity
 9    of the factual representations and arguments made by the government at the detention
10    hearing.13 None of this information has been brought to the Court’s attention voluntarily
11
      13
12       Mrs. Carlin is referenced in the complaint filed in March 2019 [Dkt. 1]. She was
      subpoenaed to testify before the grand jury in this case in 2019 and subsequently sat for
13
      an interview with AUSAs Sagel and Andre on July 25, 2019. The government later
14    produced a Memorandum of Interview from the July 25, 2019 interview to the defense
      on October 5, 2019 (USAO_00173598) but failed to produce any handwritten notes from
15
      the interview. In March 2020, after Mr. Avenatti’s remand, the government provided
16    follow-up questions to Mrs. Carlin, through her counsel, relating to her 2019 interview.
      The government has not produced those questions or the emails relating to them. On or
17
      about April 1, 2020, the government conducted a subsequent interview/proffer session
18    with Mrs. Carlin’s counsel relating to the 2019 interview. This lasted approximately 2.5
      hours. The defense has learned that during this interview, the government was
19
      confronted with the fact that (a) statements they attributed to Mrs. Carlin in their
20    Memorandum of Mrs. Carlin’s July 25, 2019 interview were not accurate (i.e. the memo
      did not reflect what the government had actually been told during the interview) and (b)
21
      the government’s representations made to the defense and the Court that Mrs. Carlin had
22    informed them that Mr. Avenatti did not owe Mrs. Carlin money when he made
      payments to her, including while on bond, were demonstrably false. Despite repeated
23
      requests, the government refuses to provide the notes from the July 2019 interview, the
24    questions the government sent in March 2020 and the related emails, and all notes and
      memoranda relating to the April 2020 interview/proffer session. The government is now
25
      attempting to claim, as part of its effort to avoid producing exculpatory information that
26    is damaging to the government and should have been produced long ago, that Mrs.
27
      Carlin, after having been a witness for the last two years, is suddenly no longer a witness
      and therefore they can withhold the exculpatory Brady information, including as it
28    relates to Mr. Avenatti’s bond. This is improper and highly prejudicial to the defendant.
                                                     19
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 1    by the government as required nor did the government inform the defense. Further,
 2    despite repeated recent requests to the government that all of this information be
 3    provided, including pursuant to Brady, it still has not been provided to the defense.
 4           19.   The Covid-19 Pandemic and the Risk to Mr. Avenatti’s Health
 5           After Mr. Avenatti’s remand on January 15, 2020, the COVID-19 pandemic began
 6    sweeping across the nation and infiltrating America’s prisons and jails, including pretrial
 7    facilities. The pandemic continues to pose a threat as of this filing. See, e.g., Opposition
 8    to the Government’s Motion to Terminate and Not Further Extend Defendant Michael
 9    John Avenatti’s Temporary Release [Dkt. 271], pp. 21-25, Exhs. A-C; Declaration of F.
10    Ramzi Asfour, M.D. (filed under seal) [Dkt. 280]; Ex Parte Application [Dkt. 420].14
11    Mr. Avenatti’s health conditions render him especially susceptible to contracting the
12    virus and suffering death or serious, permanent injury, including permanent heart or lung
13    damage, and/or diminished cognitive ability were he to be infected. See id.
14    III.   ARGUMENT
15           A.    The Bail Reform Act Generally
16           The Bail Reform Act of 1984, 18 U.S.C. §§ 3141, et seq., requires that a court
17    should “bear in mind that it is only a ‘limited group of offenders’ who should be denied
18    bail pending trial.” United States v. Shakur, 817 F.2d 189, 195 (2d Cir. 1987) (quoting
19    S. Rep. No. 98-225 at 7, as reprinted in 1984 U.S.C.CA.N. 3182, 3189); see also United
20    States v. Salerno, 481 U.S. 739, 755 (1987) (suggesting that “detention prior to trial or
21    without trial is the carefully limited exception to liberty before trial”). One charged with
22    a crime is, after all, presumed innocent. Stack v. Boyle, 342 U.S. 1, 4 (1951). A single
23    individual unnecessarily detained before trial is one individual too many, and the
24    increasing use of the practice places tremendous wear on our constitutional system. See
25    United States v. Montalvo-Murillo, 495 U.S. 711, 723-24 (1990) (Stevens, J., dissenting,
26
      14
27
        In the interest of not over-burdening the Court, the defense will not repeat the same
      facts and evidence set forth in the Opposition, the Declaration of Dr. Asfour and in the
28    Ex Parte Application, but instead incorporates them herein by reference.
                                                   20
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 1    joined by Brennan and Marshall, JJ.). Due to the critical interests involved, therefore, a
 2    “case-by-case” approach is required at all stages of a case in assessing the propriety of
 3    continued pretrial detention. See United States v. Gonzalez Claudio, 806 F.2d 334, 340
 4    (2d Cir. 1986) (discussing due process analysis for evaluating propriety of prolonged
 5    pretrial detention and the interest at stake) (citations omitted). This is especially true
 6    once a defendant has been detained for over one year.
 7          The Act requires the release of a person facing trial under the least restrictive
 8    condition or combination of conditions that will reasonably assure the appearance of the
 9    person as required and the safety of the community. See United States v. Gebro, 948
10    F.2d 1118, 1121 (9th Cir. 1991); United States v. Motamedi, 767 F.2dd 1403, 1405 (9th
11    Cir. 1985). Only in rare circumstances should release be denied, and doubts regarding
12    the propriety of release must be resolved in favor of release. See Gebro, 948 F.2d at
13    1121; Motamedi, 767 F.2d at 1405. The Bail Reform Act requires release unless no
14    combination of conditions can reasonably assure the appearance of the person and the
15    safety of the community. 18 U.S.C. § 3142. Further, § 3142 does not seek ironclad
16    guarantees and the requirement that conditions of release will “reasonably assure” the
17    safety of the community cannot be read to require a set of conditions that make it a near
18    certainty that the community will be protected at all times under any conceivable set of
19    circumstances. See, e.g., United States v. Tortora, 922 F.2d 880, 884 (1st Cir. 1990)
20    (where the issue is the safety of the community, Congress did not require guarantees in
21    enacting the Bail Reform Act).
22          Critically, “A finding that a defendant is a danger to any other person or the
23    community must be supported by ‘clear and convincing evidence.’” United States v.
24    Hir, 517 F.3d 1081, 1086 (9th Cir. 2008). Moreover, this requirement remains constant
25    throughout a case, and must take into account changed circumstances, the introduction of
26    new facts and information, and the passage of time.
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 1          Finally, the determination of pretrial release under § 3142 neither requires nor
 2    permits a pretrial determination of guilt. See Gebro, 948 F.2d at 1121-22. The evidence
 3    of guilt is relevant only in terms of likelihood that the defendant will fail to appear. See
 4    United States v. Winsor, 785 F.2d 755, 757 (9th Cir. 1986).
 5          B.     Section 3142(f) of the Act
 6          Section 3142(f) of the Bail Reform Act specifically provides that a detention
 7    hearing may be reopened before or after a detention determination by a judicial officer,
 8    at any time before trial, if the judicial officer finds that information exists that was not
 9    known to the movant at the time of the hearing and that has a material bearing on the
10    issue whether there are conditions of release that will reasonably assure the appearance
11    of the person as required and the safety of any other person and the community. See 18
12    U.S.C. § 3142(f). Further, once a hearing is reopened, it is reopened for the purpose of
13    the court receiving in context any information, within reason, not submitted at the
14    original detention hearing. See, e.g., United States v. Barksdale, 2008 WL 2620380, *2
15    n. 3 (E.D. Cal., July 1, 2008). In other words, the law specifically allows for the
16    presentation of new facts and information to the Court that may evidence changed
17    circumstances, thus warranting a revocation or amendment of the prior detention order.
18          C.     The New Information Has a Material Bearing on the Issues
19          As set forth above in Section II.F, significant information and facts have emerged
20    that were not known to Mr. Avenatti as of the date of the detention hearing and that have
21    a material bearing on the issue of whether there are conditions of release that will
22    reasonably assure the appearance of Mr. Avenatti and the safety of the community. This
23    information bears directly on the question of whether Mr. Avenatti should be released
24    under the Bail Reform Act and the law interpreting the Act, including in the Ninth
25    Circuit. See, e.g., United States v. Ward, 63 F.Supp. 2d 1203 (C.D. Cal. 1999) (granting
26    request to reopen detention hearing on the grounds that defendant’s immediate family
27    was now willing to post upwards of one million dollars of real property to secure his
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 1    release and appearance but were not present and were not contacted regarding the need
 2    for a large real property bond at the time of the first detention hearing); United States v.
 3    Alaby, 2020 U.S. Dist. LEXIS 84424 (S.D. Cal. 2020) (granting request to reopen
 4    detention hearing due to COVID-19 risks and defendant’s father-in-law agreeing to serve
 5    as surety); United States v. Perez-Cornejo, 2020 U.S. Dist. LEXIS 64355 (S.D. Cal.
 6    2020) (finding that defendant sufficiently pled new evidence to challenge the court’s
 7    initial detention findings when defendant was able to present evidence that his son could
 8    act as a surety and also provide housing); United States v. Parmer, 2020 U.S. Dist.
 9    LEXIS 81930 (N.D. Cal. 2020) (finding there was a sufficient change of circumstances
10    to justify pretrial release of a previously detained inmate due to COVID-19 and the
11    availability of a spot in a sober living residential facility, and holding “the pandemic is
12    changing behavior and the way courts assess risk of flight and community safety.”).
13          Among other things, this information goes to whether Mr. Avenatti remains a
14    financial or economic danger to the community; whether Mr. Avenatti has any assets to
15    dissipate, move or transfer; whether Mr. Avenatti has the means or opportunity to
16    commit any additional financial harm to the community or financial crimes, and if so,
17    under what set of circumstances; whether Mr. Avenatti has the means or opportunity to
18    defraud any creditors; whether Mr. Avenatti has any monies to move, conceal or
19    structure; and whether it is still true that absolutely no set of conditions of release exist
20    that will reasonably assure the safety of the community, which is required for Mr.
21    Avenatti’s continued pretrial detention. See United States v. Soulati, 2020 U.S. App.
22    Lexis 39853 (9th Cir. 2020)(reversing district court’s detention order and decision which
23    found that set of conditions agreed to by Pretrial Services were insufficient).
24    Accordingly, the hearing should be reopened so that the defense may present the
25    information and facts to the Court in context.
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 1          D.     Mr. Avenatti’s Continued Detention is a Violation of Due Process
 2          Finally, as noted above, Mr. Avenatti has been subject to the Court’s January 15,
 3    2020 detention order for nearly 16 months. During that time period, the trial in this
 4    matter has been continued numerous times as a result of the COVID-19 pandemic. None
 5    of these trial delays have resulted from any action or inaction on the part of Mr.
 6    Avenatti. As a result, Mr. Avenatti’s continued detention in this case under that Order
 7    violates his right to due process under the Fifth and Sixth Amendments to the United
 8    States Constitution. As the Ninth Circuit recently held in United States v. Torres, 2021
 9    U.S. App. LEXIS 12147 *24; __ F.3d __ (Apr. 23, 2021):
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            It is undisputed that at some point, pretrial detention can “become excessively
            prolonged, and therefore punitive,” resulting in a due process violation.
12          United States v. Salerno, 481 U.S. 739, 747 n.4, 107 S. Ct. 2095, 95 L. Ed.
13          2d 697 (1987). The point at which detention constitutes a due process
            violation requires a case-by-case analysis. United States v. Gelfuso, 838 F.2d
14          358, 359-60 (9th Cir. 1988) (adopting case-by-case analysis and declining to
15          express a "view as to the point at which detention in a particular case might
            become excessively prolonged and violate due process"). A due process
16          violation occurs when detention becomes punitive rather than regulatory,
17          meaning there is no regulatory purpose that can rationally be assigned to the
            detention or the detention appears excessive in relation to its regulatory
18          purpose. Salerno, 481 U.S. at 747.
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            Indeed, in Torres, the government conceded that the length of the defendant’s

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      detention (21 months from the date of detention until the scheduled trial date) weighed in

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      favor of recognizing a due process violation. They did so despite, among other things,

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      the defendant’s five prior felony convictions, an outstanding arrest warrant for failure to

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      report (a violation of his probation), his possession of ammunition as a felon, and his

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      admission that he possessed 46 grams of methamphetamine. In response, the Ninth

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      Circuit stated: “We agree” while citing to United States v. Myers, 930 F.3d 1113, 1119

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      (9th Cir. 2019) (explaining that “delays approaching one year are presumptively

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      prejudicial” for Sixth Amendment purposes) (citation omitted) and United States v.
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 1    Gonzales Claudio, 806 F.2d 334, 340-41 (2d Cir. 1986) (describing the ninety-day
 2    period as a “point of reference in our consideration of the constitutional limit on such
 3    detention”). Id. at *25-26. The court further held that regardless of the risks associated
 4    with a defendant’s release, due process imposes some limit on the length of detention.
 5    Id. at *28 (citing to United States v. Briggs, 697 F.3d 98, 103 (2d Cir. 2012) (“There is
 6    no bright-line limit on the length of detention that applies in all circumstances; but for
 7    every of set of circumstances, due process does impose some limit.”).15
 8          Here, Mr. Avenatti’s has no history of violence and no history of failure to appear.
 9    He likewise does not have a lengthy criminal record nor is there any confession in this
10    case or history of possession of narcotics or ammunition. The government’s concerns
11    regarding Mr. Avenatti being an alleged “financial danger to the community” cannot, at
12    this point, overcome Mr. Avenatti’s right to due process as guaranteed by the
13    Constitution. Thus, the detention hearing should be re-opened and the Court should
14    grant Mr. Avenatti bail on the conditions attached as Exhibit A.
15    IV.   CONCLUSION
16          For each of the reasons stated above, defendant respectfully requests that the
17    Court grant the motion and reopen the detention hearing pursuant to 18 U.S.C. § 3142(f).
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       Dated: May 7, 2021                        Respectfully submitted,
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20                                              /s/ H. Dean Steward
                                                 H. DEAN STEWARD
21                                               Attorney for Defendant
                                                 MICHAEL JOHN AVENATTI
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23    15
        The Torres court ultimately declined to find a due process violation due to the
24    defendant’s substance abuse, access to ammunition, significant criminal history
      including violent offenses, and a history of failing to appear, coupled with the
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      defendant’s confession, but warned: “The length of Torres's pretrial detention is
26    significant under any metric and is deeply troubling . . . all parties agree that at some
      point, regardless of the risks associated with Torres’s release, due process will require
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      that he be released if not tried.” Id. at *28 (citation omitted).
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                             PROPOSED CONDITIONS OF BOND

    1. Mr. Avenatti to be placed on regular bond as opposed to temporary release.

    2. Defendant shall maintain the current $1,000,000 bond, with at least $500,000 of the bond
       secured by the full deeding of real property or liquid funds deposited with the Clerk of the
       Court.

    3. Defendant shall be subject to supervision as directed by Pretrial Services.

    4. Defendant shall not leave the Central District of California without prior approval of
       pretrial services. Defendant shall adhere to a reasonable curfew to be determined by pretrial
       services.

    5. Defendant shall participate in the Location Monitoring Program and abide by all
       requirements of the program, under the direction of Pretrial Services, which shall include
       a location monitoring bracelet. Defendant must pay all of the costs of the Location
       Monitoring Program based upon his ability to pay as determined by Pretrial Services and
       will be financially responsible for any lost or damaged equipment.

    6. Defendant may possess, use and access digital devices that offer or allow internet access,
       but shall not access any financial or banking account websites. In order to determine
       compliance with this condition, defendant agrees to submit to a search of his person
       and/property by Pretrial Services. At the discretion of Pretrial Services, defendant shall
       allow internet monitoring software to be used on his devices and shall pay all of the costs
       associated with such software.

    7. Defendant shall not open, either directly or indirectly, any new bank accounts, credit card
       accounts or other financial accounts without notifying and obtaining the prior approval of
       Pretrial Services.

    8. Defendant shall not engage in any financial transactions exceeding $500, either directly or
       indirectly, without notifying and obtaining the prior approval of Pretrial Services.

    9. Defendant shall not sell, transfer, or give away any asset valued at $500 or more, either
       directly or indirectly without notifying and obtaining prior approval of Pretrial Services.

    10. Defendant shall provide to Pretrial Services every two weeks a report (or other
        documentation approved by Pretrial Services) detailing all of defendant’s financial
        transactions, including any transaction under $500, during the prior two-week period.

    11. Defendant shall avoid all contact (except in the presence of counsel), directly or indirectly,
        with any person who the government has identified as victim or potential witness in this
        case prosecution and investigation, except for Christine Avenatti Carlin and except as
        required for Defendant’s participate in ongoing civil lawsuits where he has been named as
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       the Defendant. Defendant shall not engage in any substantive discussions with these parties
       regarding this prosecution and investigation (except in the presence of counsel).

    12. Defendant shall comply with all court orders in this case and any orders and conditions of
        release in United States v. Avenatti, No. 1:19-CR-373-PGG (SDNY), and United States v.
        Avenatti, No. 1:19-CR-374-JMF (SDNY).

    13. Defendant shall not apply for a passport or other travel document during the pendency of
        this case.

    14. Defendant shall comply with the General Conditions of Release set forth in the Central
        District of California Release Order and Bond Form.
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 1
                                   CERTIFICATE OF SERVICE

 2          I, H. Dean Steward, am a citizen of the United States, and am at least 18 years of
 3
      age. My business address is 107 Avenida Miramar, Ste. C, San Clemente, CA 92672. I
 4
 5    am not a party to the above-entitled action. I have caused, on May 7, 2021, service of the:

 6     DEFENDANT’S NOTICE OF MOTION AND MOTION TO REOPEN DETENTION
                         HEARING (18 U.S.C. § 3142(f))
 7
      on the following party, using the Court’s ECF system:
 8
 9    AUSA BRETT SAGEL AND AUSA ALEXANDER WYMAN
10
      I declare under penalty of perjury that the foregoing is true and correct.
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      Executed on May 7, 2021
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13                                            /s/ H. Dean Steward
14                                            H. Dean Steward
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